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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION

 ANDREW JON HERMANN,                               CV 21-35-BLG-TJC

                     Plaintiff,
                                                   ORDER DENYING
 vs.                                               MOTION TO EXTEND

 ANDREW SAUL, Commissioner of
 Social Security Administration,

                     Defendant.

       Defendant has filed a combined Motion to Dismiss and Motion to Extend

Filing of the Administrative Record. (Doc. 8.) Defendant avers that the current

health crisis has impacted the Social Security Administration’s ability to produce

the administrative record. (Doc. 9 at 3-4, FN2.) While the motion to extend is

unopposed, it is silent on the amount of time needed to file the administrative

record. Accordingly,

       IT IS ORDERED that the combined motion (Doc. 8) is DENIED in part as

to the motion to extend without prejudice and with leave to renew.

       DATED this 1st day of June, 2021.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
